                      UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                                   5:05CV263-3-V
                                  (5:98CR192-4-V)


DERRICK RONALD GIBBS,                     )
                                          )
      Petitioner,                         )
                                          )
             v.                           )                          ORDER
                                          )
UNITED STATES OF AMERICA,                 )
      Respondent.                         )
__________________________________________)

       THIS MATTER is before the Court on initial review of Petitioner’s 28 U.S.C. § 2255

“Motion to Vacate, Set Aside, Or Correct Sentence,” filed October 11, 2005, (Document No. 1)

and Petitioner’s Motion to Proceed In Forma Pauperis (Document No.2.)

                             I. Factual and Procedural Background

       A review of the record reflects that on November 5, 1998 Petitioner pled guilty, without a

written plea agreement, to one count of conspiracy to distribute a quantity of cocaine and cocaine

bases. On April 29, 1999 this Court sentenced Defendant to 169 months imprisonment to be

followed by 10 years supervised release. Although Petitioner contends that he did not appeal, the

record reflects that Petitioner did file a notice of appeal on June 11, 2003 and that on August 22,

2003 the Fourth Circuit issued an unpublished opinion affirming Petitioner’s conviction and

sentence.

       On October 11, 2005 Petitioner filed the instant Motion to Vacate conceding that his

motion is untimely but asking that this Court allow him to file this late motion because as a pro se



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litigant, he could not have discovered the issues complained of within the one-year limitation

period under the Antiterrorism and Effective Death Penalty Act (the “AEDPA” ).

                                             II. Analysis

        In 1996, Congress enacted the Antiterrorism and Effective Death Penalty Act (the

“AEDPA”). Among other things, the AEDPA amended 28 U.S.C. §2255 by imposing a 1-year

statute of limitations period for the filing of a motion to vacate. Such amendment provides:

        A 1-year period of limitation shall apply to a motion under this section. The limitation

period shall run from the latest of–

        (1) the date on which the judgment of conviction becomes final;

        (2) the date on which the impediment to making a motion created by governmental
        action in violation of the Constitution or laws of the United States is removed, if
        the movant was prevented from making a motion by such governmental action;

        (3) the date on which the right asserted was initially recognized by the Supreme
        Court, if that right has been newly recognized by the Supreme Court and made
        retroactively applicable to cases on collateral review; or

        (4) the date on which the facts supporting the claim or claims presented could have
        been discovered through the exercise of due diligence.

28 U.S.C. § 2255.

        For the purposes of the limitations period of § 2255, “a judgment of conviction becomes

final when the time expires for filing a petition for certiorari contesting the appellate court’s

affirmation of the conviction.” Clay v. United States, 537 U.S. 522, 525 (2003).

        Although Petitioner contends that he did not appeal his conviction or sentence upon

advise from counsel, the record reflects that the Fourth Circuit affirmed Petitioner’s sentence and

conviction by unpublished opinion on August 22, 2003 and issued the mandate on September 15,



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2003. Petitioner did not file a petition for certiorari in the Supreme Court. Therefore, his

conviction became final 90 days after the Fourth Circuit issued the mandate, on or about

December 15, 2003. Petitioner had until December 15, 2004 to file his § 2255 petition.

However, Petitioner did not file his § 2255 petition until October 11, 2005, almost a year too late.

        Petitioner argues that because he is a pro se litigant and “not learned in jurisprudence” he

could not have discovered the issues he raised in his motion prior to the expiration of the one-year

statute of limitations under the AEDPA. For these reasons, Petitioner asks this Court allow him

to file this late motion.1

        The short response is to note that Petitioner filed the instant Motion to Vacate almost a

year too late and his stated reason for doing so does not justify equitable tolling.

        In United States v. Prescott, 221 F.3d 686 (4th Cir. 2000), the Court instructed that while

§ 2255's limitation period is subject to equitable tolling, it is an extraordinary remedy that is

sparingly granted. Id. at 688. It is reserved for those situations where it would be unconscionable

to enforce the limitations period and if enforced, gross injustice would result. Harris v.


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     1. In January 2002, the Fourth Circuit Court of Appeals decided the case of Hill v. Braxton,
277 F.3d 701, 706 (4th Cir. 2002). In that case, the Court concluded that “when a federal habeas
court, prior to trial, perceives a pro-se [petition or Motion to Vacate] to be untimely and the state
has not filed a motion to dismiss based upon the one-year limitations period, the [district] court
must warn the petitioner that the case is subject to dismissal . . . absent a sufficient explanation.”
Consistent with that requirement, in December 2004, the Congress amended the rules governing
habeas proceedings and modified the Motion to Vacate forms to comply with the new
requirement. The new Motion to Vacate forms now include a section which directs the petitioner
to address the “timeliness of [his/her] motion.” In particular, such new provision advises the
petitioner that if his/her conviction became final more than one year before the time that the
Motion to Vacate is being submitted, he/she “must explain why the one-year statute of limitations
as contained in 28 U.S.C. § 2255 [also set forth on the form] does not bar [such] motion.”
Accordingly, given the fact that the Petitioner has attempted to address the timeliness of his
Motion to Vacate – albeit unsuccessfully – the Court concludes that it need not provide the
Petitioner with any additional notice in this matter.

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Hutchinson, 209 F.3d 325, 330 (4th Cir. 2000). In order to be entitled to equitable tolling, an

otherwise time-barred petitioner must present ‘“(1) extraordinary circumstances, (2) beyond his

control or external to his own conduct, (3) that prevented him from filing on time.”’ United States

v. Sosa, 364 F.3d 507, 512 (4h Cir .2004) citing Rouse v. Lee, 339 F.3d 238, 246 (4th Cir. 2003)

(en banc). “Typically, these ‘circumstances [are] external to the party’s own conduct,’ thus

making it ‘unconscionable to enforce the limitation period against the party.’” Prescott, 221 F.3d

at 688, citing Harris v. Hutchinson, 209 F.3d 325, 330 (4th Cir. 2000).

        Here, Petitioner basically claims that because he is pro se, he could not have discovered

the claims raised in his Petition before the AEDPA one-year period. Applying the above cited test

to Petitioners particular situation, Petitioner fails to establish that simply being pro se and not

schooled in the law qualifies as extraordinary, out of his control and which prevented him from

filing his § 2255 motion on time. Petitioner’s stated reason for failing to timely file his Motion to

Vacate will not save his petition. See Harris v. Hutchinson, 209 F.3d 325 (4th Cir. 2000); Turner

v. Johnson, 177 F.3d 390, 392 (5th Cir.) (Neither petitioner’s unfamiliarity with legal process nor

his lack of representation during applicable filing period merits equitable tolling of the one-year

period of limitation on federal habeas petitions, regardless of whether this unfamiliarity is due to

illiteracy or any other reason), cert. denied, 528 U.S. 1007 (1999).

        For the foregoing reasons, this Court concludes that Petitioner’s October 11, 2005 Motion

to vacate is untimely, does not qualify for equitable tolling, and therefore must be dismissed.

        NOW, THEREFORE, IT IS HEREBY ORDERED that Petitioner’s Motion pursuant

to 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence (Document No. 1) is dismissed as

untimely. Furthermore, his Motion to Proceed In Forma Pauperis, (Document No. 2), filed


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October 11, 2005, is denied as moot since a motion to vacate does not require a filing fee.




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